                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA


                                                )
 UNITED STATES OF AMERICA                       )
                                                )
 v.                                             )           No. 1: 07-cr-146-006
                                                )           Judge Edgar
 JOHN PAUL HASSLER                              )
                                                )


                                       MEMORANDUM


        Before the Court is the motion of defendant John Paul Hassler [Doc. No. 169] to suppress

 evidence seized by Rhea County, Tennessee, law enforcement officers during the early morning

 hours of January 23, 2007. On April 10, 2008, this Court held a hearing on the motion. This

 memorandum is the Court’s findings of fact and conclusions of law.

        I.      Findings of Fact

        During the evening of January 22, 2007, Rhea County Deputy Rusty Rogers was told by

 fellow Deputy Mike Bice that Bice had information from a confidential informant that defendant

 would be driving along State Highway 68 that evening carrying a controlled substance.

 However nothing untoward was observed before midnight, and Deputy Bice left the scene.

 Shortly after midnight Deputy Rogers observed a 1999 model Ford Mustang, which he knew to

 belong to Defendant, proceeding East along Highway 68. Deputy Rogers immediately called

 Deputy Bice on a cell phone and proceeded to follow the vehicle. The vehicle swerved across

 the center line approximately five times as it reached the brow of the Cumberland Plateau and

 proceeded down the mountain. Rogers stopped the vehicle, when it turned onto Cemetery Road,

 by turning on his blue lights.



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        The driver of the vehicle turned out to be Samantha Reynolds, a co-defendant in this

 case. When Deputy Rogers advised her of the swerving, Reynolds conceded that she was having

 a difficult time steering the Mustang because the front end was “pulling.” The Defendant had

 been riding in the front passenger seat. When Deputy Rogers asked Reynolds for consent to

 search the vehicle, she said that she did not own the vehicle, and Rogers would have to talk to

 the Defendant Hassler. While Rogers was checking out Reynolds’drivers license and giving her

 a field sobriety test (which she passed), Deputy Bice arrived. Bice asked Defendant for consent

 to search the vehicle. Defendant declined to give such consent. Bice then called for K-9 officer

 Rocky Hill, who arrived at the stop location in 20 minutes or less with his dog, “Zappa.” Hill

 has 20 years experience as a dog handler. Zappa is an accomplished drug detection dog, with

 experience in Iraq. Officer Hill trains the dog daily, and Zappa is 98% accurate when seeking

 drugs. The dog alerted on the vehicle, which was then searched. The officers found marijuana

 behind the driver’s seat. The elapsed time from the initiation of the stop until the finding of the

 marijuana was less than thirty minutes.

        II.     Conclusions of Law

        The government initially claims that Defendant Hassler has no standing to object to the

 search of the vehicle. The court notes that the suppression hearing established that Mr. Hassler

 owned the vehicle. Therefore, as the owner, he has standing to object to the search of the

 vehicle. See e.g. United States v. Williams, 354 F.3d 497, 511 (6th Cir. 2003) (noting that

 “‘suppression of the product of a Fourth Amendment violation can be successfully urged only by

 those whose rights were violated by the search itself . . .’”) (quotation omitted)).

        Defendant Hassler claims that the law enforcement officers lacked probable cause to stop


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 his vehicle, and as a result, the search following the stop violated his rights under the Fourth

 Amendment to the United States Constitution. The Fourth Amendment protects “[t]he right of

 the people to be secure in their persons, houses, papers, and effects, against unreasonable

 searches and seizures.” U.S. Const. amend. IV; Whren v. United States, 517 U.S. 806, 809

 (1996). A temporary detention during a vehicle stop constitutes a seizure pursuant to the Fourth

 Amendment. Whren, 517 U.S. at 809-810. In Whren the Supreme Court emphasized that “[a]s a

 general matter, the decision to stop an automobile is reasonable where the police have probable

 cause to believe that a traffic violation has occurred.” 517 U.S. at 810 (citing Delaware v.

 Prouse, 440 U.S. 648, 659 (1979); Pennsylvania v. Mimms, 434 U.S. 106, 109 (1977) (per

 curiam)). See also, United States v. Palomino, 100 F.3d 446, 448 (6th Cir. 1996) (concluding

 “‘so long as the officer has probable cause to believe that a traffic violation has occurred or was

 occurring, the resulting stop is not unlawful and does not violate the Fourth Amendment’”)

 (quoting United States v. Ferguson, 8 F.3d 385, 391 (6th Cir. 1993)).

        In Whren the Supreme Court addressed whether a search of a vehicle and seizure of

 illegal drugs violated the Fourth Amendment where the officers stopped the car without probable

 cause or reasonable suspicion to believe that defendants were participating in illegal drug-

 dealing activity and where the asserted ground for stopping the vehicle, a minor traffic violation,

 was allegedly pretextual. 517 U.S. at 808. The defendants in that case claimed that because

 there are so many minor traffic rules, it would be impossible for any person whom a law

 enforcement officer wanted to stop to escape a vehicle stop due to the infeasibility of complying

 with all minor traffic statutes and regulations. The Supreme Court disagreed. It held that where

 the “officers had probable cause to believe that petitioners had violated the traffic code,” the


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 vehicle stop was “reasonable under the Fourth Amendment” and the evidence discovered upon

 the search of the vehicle was “admissible.”

        As in Whren, the driver of the vehicle in this case, Ms. Reynolds, engaged in a violation

 of traffic laws by swerving the vehicle over the yellow line in the middle of the road several

 times. Tennessee’s traffic laws provide:

        Whenever any roadway has been divided into two (2) or more clearly marked
        lanes for traffic, the following rules, in addition to all others consistent herewith,
        shall apply:
        (1) A vehicle shall be driven as nearly as practicable entirely within a single lane
        and shall not be moved from such lane until the driver has first ascertained that
        such movement can be made with safety; . . .

 Tenn. Code Ann. § 55-8-123(1). The Sixth Circuit has determined that repeated violation of this

 statutory provision provides probable cause for a vehicle stop. See e.g. United States v. Little,

 1999 WL 196515, *4, 178 F.3d 1297 (6th Cir. 1999) (crossing into shoulder of road twice

 violated Tenn. Code Ann. § 55-8-123(1) and provided probable cause for stop); United States v.

 Palomino, 100 F.3d 446, 448 n.1 (6th Cir. 1996) (officer had probable cause to believe that traffic

 violations had occurred where driver crossed “two lanes of travel at once, was straddling the

 right lane, and was weaving back and forth between the right lane and the emergency lane” in

 violation of Tenn. Code Ann. § 55-8-123). Thus, Ms. Reynolds’ swerving over the center line

 on five separate occasions provided probable cause to stop the vehicle, regardless of whether

 Deputy Rogers suspected other illegal activity might be occurring in the Defendant’s car.

        Defendant Hassler next complains about the length of the detention. “The Fourth

 Amendment . . . requires officers to have reasonable suspicion of criminal activity to detain

 temporarily for investigation either an individual or his belongings.” United States v. Avery, 137

 F.3d 343, 349 (6th Cir. 1997) (citing Terry v. Ohio, 392 U.S. 1 (1968)). In addition, “[o]fficers

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 must diligently pursue a means of investigation likely to confirm or dispel their suspicions

 quickly.” Avery, 137 F.3d at 349 (citing United States v. Sharpe, 470 U.S. 675, 686 (1985)).

        The Sixth Circuit has cautioned courts that “one must be mindful of the police officer’s

 duty to conduct the stop with the least intrusive means reasonably available to verify or dispel

 the officer’s suspicion in a short period of time.” United States v. Hill, 195 F.3d 258, 270 (6th

 Cir. 1999) (citing Florida v. Royer, 460 U.S. 491, 500 (1983)). However, the Sixth Circuit has

 also determined that delays of thirty minutes or less while an officer verifies or dispels his

 suspicion is not unreasonable. See e.g., Avery, 137 F.3d at 351 (upholding delay of twenty-five

 minutes as not unreasonable); United States v. Knox, 839 F.2d 285, 290 (6th Cir. 1988) (finding

 that delay of thirty minutes was not unreasonable). As this court has found, the stop lasted less

 than thirty minutes. This length of time is not unreasonable given the fact that it took a few

 minutes for Deputy Rogers to check the validity of Ms. Reynolds’ license. In addition, Deputy

 Rogers called in assistance from the K-9 officer due to Defendant Hassler’s refusal to consent to

 the search of the vehicle. It took a few minutes for the K-9 officer to arrive on the scene. Given

 the facts of this case, the court concludes that the length of detainment of less than thirty minutes

 was not an unreasonable seizure that violated the Fourth Amendment.

        Finally, “[a] positive indication by a properly-trained dog is sufficient to establish

 probable cause for the presence of a controlled substance.” United States v. Diaz, 25 F.3d 392,

 393-394 (6th Cir. 1994). In this case, Zappa, a highly-trained dog with a high rate of accurate

 alerts, alerted to Defendant Hassler’s vehicle. Zappa’s alert established probable cause for the

 presence of a controlled substance. Therefore, based on the analysis supra, the search and

 seizure in this case did not violate the Fourth Amendment.


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      III.   Conclusion

      Defendant Hassler’s motion to suppress based on an illegal search and seizure will be

 DENIED.

      A separate order will be entered.



                                   /s/ R. Allan Edgar
                                 R. ALLAN EDGAR
                           UNITED STATES DISTRICT JUDGE




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